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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


         In re:                                                  Chapter 11

         BOY SCOUTS OF AMERICA AND                               Case No. Case No. 20-10343 (LSS)
         DELAWARE BSA, LLC,
                                                                 (Jointly Administered)
                                 Debtors.


                          MOTION AND ORDER FOR ADMISSION PRO HAC VICE
        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac vice of
Jennifer M. Thomas of White & Case LLP, 1221 Avenue of the Americas, New York, NY 10020, to represent the
Debtors in the above-captioned case and any related proceedings.

Dated: February 22, 2022                              MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                                                      /s/ Paige N. Topper
                                                      Paige N. Topper (No. 6470)
                                                      1201 North Market Street
                                                      P.O. Box 1347
                                                      Wilmington, DE 19899-1348
                                                      Telephone: (302) 658-9200

                    CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, and am admitted,
practicing, and in good standing as a member of the Bar of the State of New York and the United States District Courts
for the Eastern and Southern Districts of New York. I submit to the disciplinary jurisdiction of this Court for any
alleged misconduct which occurs in the preparation or course of this action. I also certify that I am generally familiar
with this Court’s Local Rules and with the Standing Order for District Court Fund revised 8/31/16. I further certify
that the annual fee of $25.00 has been paid to the Clerk of Court for the District Court.

Dated: February 22, 2022                               /s/ Jennifer M. Thomas
                                                       Jennifer M. Thomas
                                                       White & Case, LLP
                                                       1221 Avenue of the Americas
                                                       New York, NY 10020
                                                       Telephone: (212) 819-8665
                                                       Email: Jennifer.thomas@whitecase.com


                                           ORDER GRANTING MOTION

       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




              Dated: February 24th, 2022                      LAURIE SELBER SILVERSTEIN
              Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE
